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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  JEREMIAH BUCKLEY,

                         Plaintiff,
                                                      No.
          -against-
                                                      COMPLAINT
  THE METROPOLITAN TRANSPORTATION
  AUTHORITY; MTA Police Officer STEPHEN
  MEARS, Shield #764; and MTA Police Officer
  DANILO RODRIGUEZ, Shield # 2096,

                         Defendants.



               Plaintiff Jeremiah Buckley, by and through his attorneys, Emery Celli

Brinckerhoff & Abady LLP, alleges as follows:

                                PRELIMINARY STATEMENT

               1.      On February 24, 2018, Plaintiff Jeremiah Buckley was brutally beaten in

Pennsylvania Station by two uniformed Metropolitan Transportation Authority (“MTA”) Police

Officers and then falsely arrested for crimes he did not commit.

               2.      Plaintiff, who was 53 years old at the time of the assault, was in Penn

Station that evening waiting to meet a friend off the Long Island Rail Road. While standing in a

public area of the station, Plaintiff sat and kneeled on the floor for approximately three minutes

to retrieve items from his travel bag. After he stood back up, Plaintiff was approached by

Defendants, two MTA Police Officers, who accused him of sleeping on the floor.

               3.      Plaintiff explained that he was not sleeping on the floor, that he just

arrived at Penn Station and was waiting for a friend, and that he had sat down momentarily to


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retrieve items from his bag. Defendants continued to aggressively question him before leading

him into a corner and beating him.

               4.      Plaintiff suffered numerous physical injuries from this assault, including a

punctured lung, multiple broken ribs, and damage to his knee that ultimately required surgery.

               5.      To justify their actions, Defendants then arrested Plaintiff and charged him

with four crimes. These charges were baseless. Plaintiff remained in police custody, first

handcuffed in a prison cell, and then cuffed and shackled to a hospital bed for over twenty-four

hours. Defendants continued to taunt and threaten Plaintiff throughout his time in custody.

               6.      Once he was finally brought to court, Plaintiff’s charges were dismissed,

with the District Attorney’s consent, at his first two appearances on March 4, 2018 and April 24,

2018.

               7.      Plaintiff seeks damages pursuant to 42 U.S.C. § 1983 for violations of his

rights under the Fourth and Fourteenth Amendments to the United States Constitution.

                                         THE PARTIES

               8.      Plaintiff Jeremiah Buckley is a citizen of the United States and at all

relevant times hereto was a resident of the Bronx, New York.

               9.      Defendant Metropolitan Transportation Authority is a municipal

organization existing under the laws of the State of New York.

               10.     Defendants Stephen Mears and Danilo Rodriguez (collectively,

“Defendant Officers” or “Officers”) were, at all times relevant to this complaint, police officers

employed by the MTA. In this role, Defendant Officers were duly appointed and acting officers,

servants, employees and/or agents of the State of New York. At all relevant times, they were

acting in the scope of their employment and under color of state law.
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                                JURISDICTION AND VENUE

               11.     This action arises under the Fourth and Fourteenth Amendments to the

United States Constitution, 42 U.S.C. §§ 1983 and 1988, and New York state common law.

               12.     The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331,

1343(a)(3) and (4), and 1367(a).

               13.     The acts complained of occurred in the Southern District of New York,

and venue is lodged in this Court pursuant to 28 U.S.C. § 1391(b).

                                   FACTUAL ALLEGATIONS

      I.   Mr. Buckley is Brutally Assaulted by the Officers in Penn Station

               14.     On the night of February 23, 2018, Mr. Buckley, a then 53-year-old,

longtime New York resident, was traveling home to New York on New Jersey Transit from

Levittown, New Jersey.

               15.     Upon arrival in Pennsylvania Station in midtown Manhattan, Mr. Buckley

had planned to meet a friend.

               16.     Mr. Buckley waited for his friend in the area where arrivals and departures

are listed for the Long Island Railroad. This area is immediately below and connected to the

entrance to the station at West 34th Street between 7th Avenue and Pearson Park Street.

               17.     After waiting for a few minutes, Mr. Buckley sat down to retrieve items

from, and reorganize items within, his travel bag. Mr. Buckley was sitting, first on one knee and

then flat on the ground, for just under three minutes.

               18.     During the three minutes that Mr. Buckley was sitting or kneeling, dozens

of pedestrians walked past him in both directions unimpeded.
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               19.    Approximately 25 seconds after Mr. Buckley stood back up, Defendant

Officer Mears approached him.

               20.    Officer Mears accused Mr. Buckley of sleeping on the floor of Penn

Station.

               21.    Defendant Officer Rodriguez stood a few feet behind Officer Mears.

               22.    Mr. Buckley responded to Officer Mears that he had not been sleeping,

that he had just traveled to New York via train from New Jersey, and that he was waiting to meet

a friend.

               23.    Office Mears asked Mr. Buckley if he needed an ambulance, an offer

which Mr. Buckley declined because he was not sick or injured.

               24.    Officer Mears then became aggressive and told Mr. Buckley that unless he

needed medical help, “[you] can’t be over here.”

               25.    Officer Mears told Mr. Buckley to leave the public station.

               26.    Mr. Buckley again attempted to explain that he was simply meeting a

friend and offered to show Officer Mears his identification and his New Jersey Transit ticket.

               27.    Mr. Buckley offered that Officer Mears could even to search his bags.

               28.    Officer Rodriguez continued to stand behind Officer Mears but he turned

his body away from Officer Mears and Mr. Buckley, seemingly observing other pedestrians.

               29.    Approximately one minute after the Officers approached him, Mr.

Buckley picked up his bags, and began to walk away from the Officers.

               30.    Although Mr. Buckley knew he had the right to continue to wait in the

location, he sought to avoid conflict with the Defendants by simply complying and leaving the

area.
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                 31.   But the Officers would not let Mr. Buckley leave.

                 32.   As he started to walk away, Officer Mears pushed Mr. Buckley in the

chest and pointed in the opposite direction from where Mr. Buckley was walking.

                 33.   Officer Mears then threatened Mr. Buckley that he would “extract him”

and gestured for Mr. Buckley to walk in front of him, stating “let me talk to you over here.”

                 34.   Mr. Buckley followed Officer Mears’ orders and began walking with him.

Mr. Buckley questioned what was going on, whether he was under arrest, and why he was not

permitted to leave.

                 35.   After a few steps, Officer Mears and Mr. Buckley stopped walking.

                 36.   Mr. Buckley questioned why he was not allowed to leave.

                 37.   Officer Rodriguez, who had been silent and seemingly disengaged from

the confrontation to this point, came behind Mr. Buckley and grabbed his right arm.

                 38.   Startled by Officer Rodriguez’s sudden contact from behind him, Mr.

Buckley pulled his right arm away from Officer Rodriguez.

                 39.   Mr. Buckley continued to comply with and walk alongside Officer Mears

who was holding his left arm.

                 40.   When Mr. Buckley tried to move his arm, he was violently attacked by

both Officers.

                 41.   Officer Mears stuck his forearm in Mr. Buckley’s chest and used the full

force of his body to propel Mr. Buckley into the wall.

                 42.   As Mr. Buckley’s head slammed into the marble wall, Officer Mears

pulled him to the ground.

                 43.   While being held on the ground by Officer Mears, Mr. Buckley heard
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Officer Rodriguez standing behind him say “watch this.”

               44.    Mr. Buckley then felt sharp sudden force against his ribs and heard a

cracking sound. Mr. Buckley was immediately in excruciating pain.

               45.    The Officers continued to assault Mr. Buckley as they pinned him to the

ground with Officer Mears’s fully body weight on Mr. Buckley’s legs and knees, stomping on

his left hand and slamming their knees into Mr. Buckley’s body.

     II.   Mr. Buckley is Arrested For No Reason

               46.    After assaulting him, the Officers hand cuffed Mr. Buckley’s hands behind

his back, pulled his sweatshirt over his head so that he could not see, and picked him up off the

ground.

               47.    When Mr. Buckley yelled for help, the Officers told him that “nobody

gives a f**k about you, nobody cares.”

               48.    Eventually, Mr. Buckley was placed in a holding cell at the MTA Police

Station located underground.

               49.    Officer Rodriguez then continued his assault on Mr. Buckley. He

removed one of Mr. Buckley’s hand-cuffs but would not remove the other one.

               50.    Officer Rodriguez squeezed the remaining cuff against Mr. Buckley’s

wrists while taunting “how does that feel?”

               51.    Officer Rodriguez then instructed Mr. Buckley to raise his hand in the air.

When Mr. Buckley complied, Officer Rodriguez elbowed him in his (now broken) ribs.

               52.    Mr. Buckley screamed that he needed an ambulance. His screams only

prompted more taunts from the Officers such as “f**k you,” “there’s nothing wrong with you,”

and “you’re not getting an ambulance.”
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                  53.   As Mr. Buckley lay down in the cell screaming from the pain, the

Officers’ taunts turned graphic and sexual. The Officers stood outside Mr. Buckley’s cell

making inappropriate gestures and obscene comments.

                  54.   Mr. Buckley lay in his cell writhing in pain for approximately one hour

before an ambulance was called.

                  55.   Even once in the ambulance, the Officers continued to harass Mr.

Buckley, telling the ambulance driver that Mr. Buckley was “full of shit” and a “liar.” They also

continued to sexually taunt Mr. Buckley.

                  56.   When they arrived at Bellevue Hospital, Mr. Buckley’s shoes were

removed and he was dragged in his socks in the rain by the Officers from the ambulance to the

Hospital.

    III.    Mr. Buckley Finally Receives Medical Attention at the Hospital

                  57.   At approximately 2:00 a.m., about two hours after he first encountered the

Defendants, Mr. Buckley was admitted to Bellevue Hospital.

                  58.   Mr. Buckley received an MRI and chest x-ray which revealed that he had

two broken ribs and a punctured lung.

                  59.   He was given oxygen and morphine to manage the immense pain from

these injuries.

                  60.   Mr. Buckley also suffered an abrasion on his left hand and had pain in his

right knee resulting from the incident.

                  61.   Mr. Buckley remained handcuffed and shackled at his ankles for the

duration of his time at the hospital.

                  62.   Mr. Buckley remained at Bellevue Hospital until approximately 10:00 am
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the following morning.

    IV.     Mr. Buckley’s Charges are Promptly Dismissed

                63.    After he was discharged from the hospital, Mr. Buckley was arraigned in

New York County Criminal Court on February 25, 2018.

                64.    The Officers fabricated four charges in order to justify their unlawful

arrest and beating of Mr. Buckley.

                65.    Mr. Buckley was charged with (1) resisting arrest in violation of New

York Penal Law § 205.30; (2) attempted assault in the third degree in violation in violation of

New York Penal Law § 110/120/00(1); (3) disorderly conduction in violation of New York Penal

Law § 240.20(5); and (4) Harassment in the Second Degree in violation of New York Penal Law

§ 240.26 (1).

                66.    On March 4, 2018 (only eight days after his arraignment), the disorderly

conduct charge was dismissed with the People’s consent. The Court set a conference for April

24, 2018.

                67.    On March 21, 2018, after serving a subpoena on the MTA, Mr. Buckley’s

criminal defense counsel received a video of the incident. Mr. Buckley’s counsel met with the

District Attorney to show him the video shortly thereafter.

                68.    The District Attorney agreed to dismiss all charges at the April 24, 2018

conference.

     V.     Mr. Buckley’s Ongoing Injuries

                69.    Mr. Buckley’s physical injuries persisted after the incident.

                70.    Broken ribs are a notoriously painful injury. Mr. Buckley continued to

suffer immense pain in his ribs and chest as well as difficulty breathing from his fractured ribs
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and punctured lung for months following this beating.

               71.     Mr. Buckley’s right knee pain also persisted. The trauma from the

incident exacerbated a pre-existing knee condition and Mr. Buckley ultimately needed knee

surgery.

               72.     Mr. Buckley’s hand remained cut and sore for weeks as a result of the

Officers’ stomping on it as he lay on the floor.

               73.     Mr. Buckley has suffered continual headaches since the incident as a result

of having his head slammed against the marble wall.

               74.     Mr. Buckley has also suffered emotional distress as a result of this beating.

He feels anxious and uneasy any time he sees police, and despite spending most of his life in

New York, is afraid to leave his neighborhood or to travel on the public transit system. He has

had trouble sleeping, flashbacks to the incident, and has had increased difficulty regulating his

emotions since this assault.

               75.     The parties have stipulated that so long as Mr. Buckley allowed the

Defendant MTA to conduct a sworn examination as required by Public Authorities Law

§ 1276(4), Defendants would not assert and a defense for failure to comply with New York

Public Authorities Law § 1276(2).

               76.     Mr. Buckley sat for a sworn examination as required under New York

Public Authorities Law § 1276 on November 16, 2018.

               77.     Over thirty days have elapsed since the claims upon which this action is

founded were presented to a member of the MTA designated for that purpose. The MTA has

neglected or refused to make an adjustment or payment thereof.

               78.     This action has been commenced within one year after Plaintiff’s arrest on
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the morning of February 24, 2018.

                                  FIRST CAUSE OF ACTION
                      42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
                                          Excessive Force
                                  (Defendants Mears and Rodriguez)

                79.     Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                80.     At all relevant times, Defendant Officers were acting under color of state

law in their individual and official capacities within the scope of their respective employments as

police officers for the MTA.

                81.     By assaulting Plaintiff and using excessive, brutal, and unconscionable

force against Plaintiff, and by failing to intervene and prevent each other from using excessive

force, Defendant Officers deprived Plaintiff of rights, remedies, privileges, and immunities

guaranteed to every citizen of the United States, secured by 42 U.S.C. § 1983, including, but not

limited to, rights guaranteed under the Fourth and Fourteenth Amendments of the United States

Constitution.

                82.     Defendant Officers acted beyond the scope of their authority and

jurisdiction to willfully, knowingly, and intentionally deprive Plaintiff of his constitutional

rights.

                83.     As a direct and proximate result of Defendant Officers’ misconduct and

abuse detailed above, Plaintiff sustained the damages herein before alleged.

                                 SECOND CAUSE OF ACTION
                      42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
                               False Arrest and False Imprisonment
                                (Defendants Mears and Rodriguez)

                84.     Plaintiff repeats and realleges the above paragraphs as if the same were
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fully set forth at length herein.

                85.        Defendant Officers wrongfully and illegally arrested Plaintiff or failed to

intervene in the wrongful and illegal arrest of Plaintiff.

                86.        The wrongful, unjustifiable, and unlawful apprehension, arrest, and

detention of Plaintiff was carried out without any basis, without Plaintiff’s consent, and without

probable cause or reasonable suspicion.

                87.        At all relevant times, Defendant Officers acted forcibly in apprehending

and arresting Plaintiff.

                88.        Throughout this period, Plaintiff was unlawfully, wrongfully, and

unjustifiably held under arrest, deprived of his liberty, and falsely charged.

                89.        At all times, the unlawful, wrongful, and false arrest of Plaintiff was

without basis and without probable cause or reasonable suspicion.

                90.        Defendant Officers’ misconduct occurred without any fault or provocation

on the part of Plaintiff.

                91.        Defendant Officers acted under pretense and color of state law. Defendant

Officers acted beyond the scope of their authority and jurisdiction to willfully, knowingly, and

intentionally deprive Plaintiff of his constitutional rights as secured by the Fourth and Fourteenth

Amendment to the United States Constitution.

                92.        As a direct and proximate result of Defendant Officers’ misconduct and

abuse detailed above, Plaintiff sustained the damages hereinbefore alleged.




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                                    THIRD CAUSE OF ACTION
                        42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
                                        Malicious Prosecution
                                  (Defendants Mears and Rodriguez)

                93.     Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                94.     Defendant Officers maliciously and without justification commenced

criminal proceedings against Plaintiff.

                95.     Defendant Officers commenced these charges falsely, maliciously, in bad

faith, and without probable cause. At no subsequent point did any Defendant Officer attempt to

intervene and prevent the unlawful prosecution of Plaintiff.

                96.     After two months of proceedings in criminal court in which Plaintiff was

forced to defend himself, all charges against Plaintiff were terminated in Plaintiff’s favor.

                97.     Defendant Officers acted under pretense and color of state law. Defendant

Officers acted beyond the scope of their authority and jurisdiction to willfully, knowingly, and

intentionally deprive Plaintiff of his constitutional rights as secured by the Fourth and Fourteenth

Amendment to the United States Constitution.

                98.     As a direct and proximate result of Defendant Officers’ misconduct and

abuse detailed above, Plaintiff sustained the damages hereinbefore alleged.

                              FOURTH CAUSE OF ACTION
                        Common Law False Arrest and False Imprisonment
                                     (All Defendants)

                99.     Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                100.    Defendant Officers wrongfully and illegally arrested Plaintiff or failed to

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intervene to prevent the wrongful and illegal arrest of Plaintiff.

                 101.      The wrongful, unjustifiable, and unlawful apprehension, arrest, and

detention of Plaintiff was carried out without any basis, without Plaintiff’s consent, and without

probable cause or reasonable suspicion.

                 102.      At all relevant times, Defendant Officers acted forcibly in apprehending

and arresting Plaintiff.

                 103.      Throughout this period, Plaintiff was unlawfully, wrongfully, and

unjustifiably held under arrest, deprived of his liberty, and falsely charged.

                 104.      At all times, the unlawful, wrongful, and false arrest of Plaintiff was

without basis and without probable cause or reasonable suspicion.

                 105.      Defendant Officers’ misconduct occurred without any fault or provocation

on the part of Plaintiff.

                 106.      Defendant Officers acted with a knowing, willful, wanton, grossly

reckless, unlawful, unreasonable, unconscionable, and flagrant disregard for Plaintiff’s rights,

privileges, welfare, and well-being, and are guilty of egregious and gross misconduct toward

Plaintiff.

                 107.      The MTA, as the employer of the Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.

                 108.      As a direct and proximate result of the Defendants’ misconduct and abuse

detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                    FIFTH CAUSE OF ACTION
                                  Common Law Malicious Prosecution
                                         (All Defendants)

                 109.      Plaintiff repeats and realleges the above paragraphs as if the same were
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fully set forth at length herein.

                110.    Defendant Officers maliciously and without justification commenced

criminal proceedings against Plaintiff.

                111.    Defendant Officers commenced these charges falsely, maliciously, in bad

faith, and without probable cause.

                112.    Defendant Officers failed to subsequently intervene to prevent the

unlawful prosecution of Plaintiff.

                113.    After months of proceedings in criminal court in which Plaintiff was

forced to defend himself, all charges against Plaintiff were terminated in Plaintiff’s favor.

                114.    Defendant Officers are responsible for the malicious prosecution of

Plaintiff during this entire period. Defendant MTA, as the employer of Defendant Officers, is

responsible under the doctrine of respondeat superior.

                115.    As a direct and proximate result of the Defendants’ misconduct and abuse

detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                    SIXTH CAUSE OF ACTION
                                              Assault
                                         (All Defendants)

                116.    Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                117.    By reason of the foregoing, and by threateningly approaching Plaintiff and

intentionally slamming him against the wall and holding him on the ground, kneeing him in the

ribs, stomping on his hand, and kneeing and kicking his body, Defendant Officers, acting in their

capacity as MTA police officers and within the scope of their employment as such, intentionally

placed Plaintiff in apprehension of imminent offensive contact and displayed the ability to
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effectuate such contact, and thereby committed a willful, unlawful, unwarranted, and intentional

assault upon Plaintiff.

                  118.    The assault committed by Defendant Officers was unnecessary and

unwarranted in the performance of their duties as MTA police officers and constituted an

unreasonable and excessive use of force.

                  119.    Defendant MTA, as employer of the Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.

                  120.    As a direct and proximate result of Defendants’ misconduct and abuse

detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                    SEVENTH CAUSE OF ACTION
                                               Battery
                                          (All Defendants)

                  121.    Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                  122.    By reason of the foregoing, and by intentionally slamming Plaintiff

against the wall, kneeing him in the ribs, stomping on his hand, and kneeing and kicking his

body, Defendant Officers, acting in their capacity as MTA Police Officers and within the scope

of their employment as such, committed a willful, unlawful, unwarranted, and intentional battery

upon Plaintiff.

                  123.    The battery committed by Defendant Officers was unnecessary and

unwarranted in the performance of their duties as MTA police officers and constituted an

unreasonable and excessive use of force.

                  124.    Defendant MTA, as employer of the Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.
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               125.     As a direct and proximate result of Defendants’ misconduct and abuse of

authority detailed above, Plaintiff sustained the damages hereinbefore alleged.



                                   JURY TRIAL DEMANDED

               126.     Mr. Buckley demands a trial by jury.



                      WHEREFORE, Plaintiff respectfully requests that this Court enter an Order

   granting him compensatory and punitive damages against each Defendant; granting Plaintiff

   reasonable attorneys’ fees, costs and disbursements pursuant to the Civil Rights Attorney’s

   Fee Awards Act of 1976, 42 U.S.C. § 1988; and granting Plaintiff such other and further

   relief as this Court deems just and equitable.


Dated: February 22, 2019
       New York, New York


                                                     EMERY CELLI BRINCKERHOFF &
                                                     ABADY LLP



                                                     By: _________/s/__________________

                                                               Katherine Rosenfeld
                                                               David Berman
                                                               600 Fifth Avenue
                                                               New York, New York 10020
                                                               (212) 763-5000

                                                               Attorneys for Plaintiff Jeremiah
                                                               Buckley



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